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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-2639

  JOHN PAULSON, an individual,

  Plaintiff,

  v.

  TWO RIVERS WATER AND FARMING COMPANY, a Colorado corporation; JOHN R.
  MCKOWEN, an individual; WAYNE HARDING, an individual; and TIMOTHY BEALL, an
  individual,

  Defendants.
  ______________________________________________________________________________

               DEFENDANT JOHN R. MCKOWEN’S NOTICE OF REMOVAL
                          PURSUANT TO 28 U.S.C. § 1452
  _____________________________________________________________________________________

          Defendant John R. McKowen, through counsel, files this Notice of Removal of all claims

  and causes of action asserted in the following action to the United States District Court for the

  District of Colorado: John Paulson, individually and on behalf of all others similarly situated, v.

  Two Rivers Water and Farming Company, John R. McKowen, Wayne Harding, and Timothy

  Beall, currently pending in the District Court for the City and County of Denver, Colorado, Case

  No. 2019CV33099 (the “State Court Action”).

          Pursuant to 28 U.S.C.A. §§ 1334(b), 1446, and 1452, and Fed. R. Bankr. P. 9027,

  McKowen states the following grounds for removal:

          1.     McKowen is a defendant in the State Court Action, which was filed on August 13,

  2019. The plaintiff in the State Court Action is John Paulson, who purchased securities in

  GrowCo, Inc. (“GrowCo”). In the State Court Action, plaintiff Paulson alleges that defendants


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  are liable for violations of Colorado securities laws and under other common law claims in

  connection with Paulson’s and others’ purchases of GrowCo securities.

         2.      On January 24, 2019, GrowCo filed a voluntary petition under Chapter 11 of the

  Bankruptcy Code in the United States Bankruptcy Court, District of Colorado, Case No. 19-

  10512-JGR (the “GrowCo Bankruptcy Case”).

         3.      As of the filing of this Notice of Removal, no defendants have answered or

  otherwise responded to Paulson’s Complaint.

         4.      Two Rivers Water and Farming Company, a defendant in the State Court Action,

  is the parent company of GrowCo, the chapter 11 debtor-in-possession in the GrowCo

  Bankruptcy Case. McKowen is the Chief Executive Officer of GrowCo.

         5.      In the State Court Action, Paulson asserted claims for himself and requested

  certification of a class of putatively similar persons who invested in GrowCo. Paulson asserted

  these claims against GrowCo’s parent company Two Rivers, GrowCo’s CEO McKowen, Wayne

  Harding (former CEO of GrowCo), and Timothy Beall (former COO of GrowCo): (i) Sales of

  Securities in Violation of the Colorado Securities Act, C.R.S. § 11-51-101 et seq., (ii) Providing

  Substantial Assistance in the Sale of Securities by Means of Untrue Statements or Omissions in

  Violation of C.R.S. § 11-51-101 et seq., (iii) Control Person Liability in the Sale of Securities by

  Means of Untrue Statements or Omissions in Violation of C.R.S. § 11-51-101 et seq., (iv)

  Common Law Negligence, and (v) Negligent Misrepresentations and Omissions.

         6.      This Court has jurisdiction of the State Court Action, including all claims and

  causes of action asserted in that action, under the provisions of 28 U.S.C.A. § 1334(b) because the




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  State Court Action is related to the GrowCo Bankruptcy Case. The State Court Action may be

  therefore be removed to this Court pursuant to 28 U.S.C.A. § 1452.

         7.      The State Court Action, including all claims and causes of action asserted in that

  action, is a civil action other than a proceeding before the United States Tax Court, and it is not a

  civil action by a governmental unit to enforce such governmental unit’s police or regulatory

  power. See 28 U.S.C.A. § 1452(a).

         8.      The State Court Action was initiated after the commencement of the GrowCo

  Bankruptcy Case. All of the claims and causes of action asserted in the State Court Action are

  related to the GrowCo Bankruptcy Case because the claims directly involve the investments in

  GrowCo; the representations of GrowCo in the securities offering documents; and the alleged

  actions of GrowCo’s and its parent company’s officers and directors, who may assert claims

  against GrowCo for indemnification and for insurance coverage under a policy in which GrowCo

  is the named insured. In addition, the coverage available under the insurance policy is an asset of

  the GrowCo bankruptcy estate, and Paulson’s claims may result in a diminution of the asset in

  violation of the bankruptcy stay under 11 U.S.C. § 362(a). Paulson’s claims may also be

  duplicative of claims the estate may have against Harding, Two Rivers and Beall pursuant to 11

  U.S.C. §§ 541, 544 and 548. The outcome of each of the interrelated claims will thus have a clear

  and direct effect on GrowCo’s Chapter 11 bankruptcy estate.

         9.      This Notice is timely filed, as it was filed less than 30 days after McKowen’s

  receipt of the initial pleading setting forth the claims to be removed, in accordance with 28 U.S.C.

  § 1446(b) and Fed. R. Bankr. P. 9027(a)(3).




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         10.     On removal, the action is a noncore proceeding, and McKowen consents to entry

  of final orders or judgment by the bankruptcy judge.

         11.     Pursuant to 28 U.S.C. § 1446(a) and Fed. R. Bankr. P. Rule 9027(a)(l), copies of

  all process and pleadings and other matters of record in the State Court Action are submitted to

  this Court together with the filing of this Notice. See Exhibits 1-4 attached hereto.

         12.     Pursuant to 28 U.S.C. § 1446(d) and Fed. R. Bankr. P. Rule 9027(b) and (c),

  McKowen is serving simultaneously with this filing a copy of this Notice of Removal on the

  District Court for the City and County of Denver, Colorado, and on all Defendants.

         Based on the above, McKowen respectfully submits this Notice of Removal pursuant to

  28 U.S.C.A. §§ 1334, 1446, and 1452 and Fed. R. Bankr. P. 9027.

         DATED this 16th day of September, 2019.


                                                Respectfully submitted,

                                                OGBORN MIHM LLP

                                                /s/ Michael T. Mihm
                                                Michael T. Mihm, #14768
                                                Susan Hardie Jacks, #32642
                                                James E. Fogg, #47763
                                                1700 Broadway, Suite 1900
                                                Denver, CO 80290
                                                Phone: 303.592.5900
                                                Fax: 303.592.5910
                                                Email: Michael.Mihm@OMTrial.com
                                                       Susie.Jacks@OMTrial.com
                                                       James.Fogg@OMTrial.com

                                                Attorneys for Defendant John R. McKowen




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on the 16th day of September, 2019, a true and correct copy of the
  foregoing DEFENDANT JOHN R. MCKOWEN’S NOTICE OF REMOVAL
  PURSUANT TO 28 U.S.C. § 1452 was electronically filed with the Court and served on the
  following via the CM/ECF filing system:

  Steven A. Miller, No. 8758                    Paul J. Scarlato
  STEVEN A. MILLER, P.C.                        Christian A. Pfeiffer
  162 Larimer St., Suite 2906                   GOLDMAN SCARLATO & PENNY, P.C.
  Denver, CO 80202                              8 Tower Bridge, Suite 1025
  Sampc01@gmail.com                             161 Washington Street
                                                Conshohocken, PA 19428
  Local Counsel for Plaintiffs                  scarlato@lawgsp.com
                                                pfeiffer@lawgsp.com

                                                Alan L. Rosca
                                                GOLDMAN SCARLATO & PENNY, PC
                                                23250 Chargin Blvd., Suite 100
                                                Beachwood, OH 44122
                                                rosca@lawgsp.com

                                                J. Barton Goplerud
                                                Brian O. Marty
                                                SHINDLER ANDERSON GOPLERUD &
                                                WEESE P.C.
                                                5015 Grand Ridge Dr., Suite 100
                                                West Des Moines, IA 50265
                                                goplerud@sagwlaw.com
                                                marty@sagwlaw.com

                                                Counsel for Plaintiff and the Putative Class


                                             /s /Hanna Ueckert
                                             Hanna Ueckert, Legal Assistant




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